 

Case 19-11849-RAM Doc 62 Filed 09/24/19 Pagelof3

UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

Www. fsb, uscourts, BOY

  

 

 

 

 

 

CHAPTER 13 PLAN (Individual Adjustment of Debts)
EL] Original Plan
[mi] 3rd Amended Plan (Indicate Ist, 2nd. etc. Amended. if applicable)
[| Modified Plan (Indicate Ist, 2nd, ete. Modified, if applicable)
DEBTOR: Fraibel Hernandez JOINT DEBTOR: _ _ CASE NO.: 19-11849
SS#: xxx-xx- 8815 SS#: XXX-XX-
L NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
and modified plans shall be served upon all creditors and a certificate of service tiled with the Clerk PUrsuant to
Local Rules 2002-1 (C)(5), 3015-1(B}(2), and 3015-2. Debtor(s) must commence plan payments within 30 days a
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13,
To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim aay

be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIL. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

The valuation of a secured claim, set out in Section III, which may result ina Ia. | yy -
. , [ | Included fw} Not inchided
partial payment or no payment at all to the secured creditor pa
Soe ee a need
Avoidance ofa judicial lien or nonpossessory. nonpurchase-money security interest, sct : [fy ae aa
out in Section tT r ‘ys nonp yume [ | Included ial Not included
i re en een |
[ | Included jw) Not included

Nonstandard provisions, set out in Section VII
Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEF

 

A. MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%. any unused

amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $2,308.02 ss for months 1 to 15
2, $2,196.91 for months 16 to 59 ;

3. $2,252.46 ___formonths_ 60 to 60 ;

 

 

B. DEBTOR(S)' ATTORNEY'S FEE: [J NONE [7] PRO BONO”
Total Fees: $3500.00 Total Paid: $2000.00 Balance Due: _——-$1500,00
Payable $100.00 /month (Months _| to 15 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3,500 Chapter 13 Case,

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
II. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [~] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property: __-

 

1. Creditor: Us Bank Trust National Association _ oo |

 

 

Address: c/o RoundPoint Mortgage Arrearage/ Payoff on Petition Date 52,165.12
Servicing ; a : : aa
56 Seo 1G Arrears Payment (Cure) $869.41 ‘month (Months 1 tw 60) 4
Charlotte, NC 28217 Regular Payment (Maintain) _§ 1107.81 ‘month (Months | a)

Last 4 Digits of
Account No.: 3025

Page [of 3

LF-31 (rev. 10/3/17)
Case 19-11849-RAM

Doc 62. Filed 09/24/19 Page 2 of 3

Debtor(s): Fraibel Ternandez Case number: 19-1 18-19

 

Other:

 

[wi] Real Property
(m)Principal Residence

Check one below for Real Property:

[@|Escrow is included in the regular payments

Other Real Propert
perly

Address of Collateral:
12500 SW 221 St
Miami, FL 33170

[_] Personal Property/Vehicle

[_]The debtor(s) will pay [7 ]taxes [7 insurance directly

 

Description of Collateral:

 

 

B. VALUATION OF COLLATERAL: [a] NONE

C. LIEN AVOIDANCE [i] NONE
D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a

distribution fom the Chapter 13 Trustee.
(a) NONE
E, DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not reecive a distribution
forn the Chapter 13 Trustee.
(-] NONE

[i] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as lo ans
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights

Name of Creditor

Bell Auto Sales

 

Last 4 Digits of Account No,
8815

Description of Collateral (Address, Vehicle, etc.)
2014 Nissan Roque

 

IV, TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. $507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEF: [ii] NONE
B. INTERNAL REVENUE SERVICE; [Bi] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [ii] NONE
D. OTHER: [i] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A, Pay $50.00

 

/month (Months 60 to 60 )

Pay /month (Months to )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [il] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: fill] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will nat prejudice other unsecured nonpriority
creditors pursuant to 1! U.S.C, § 1322.

¥L, EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor ‘lessor granted stay relielin dhis
section shall not receive a distribution from the Chapter 13 Trustee.
[m) NONE
VI. INCOME TAX RETURNS AND REFUNDS: [_] NONE

 

[@] The debtor(s) is hereby advised that the chapter [3 trustee has requested that the debtor(s) comply with 521(1) 1-4 onan
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadfine for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household ingame
increases by more than 3% over the previous year’s income. [Miami cases|

LF-31 (rev. 10/3/17) Page 2 of 3
Case 19-11849-RAM Doc 62 Filed 09/24/19 Page 3of3

Debtor(s): Fraibel Hernandez Case number: 19-1 18-19

VHT NON-STANDARD PLAN PROVISIONS [i] NONE

PROPERTY OF THE ESTATE WILL VEST IN TITE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

/s/ Fraibel Hernandez Debtor 9/24/2019 Joint Debtor 3/7) 2G) 4
Fraibel Hernandez Date Hate
‘s/ Ricardo Corona, Esq. 9/24/2019

Attorney with permission to sign on Date

Debtor(s)' behalf

By tiling this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIIL.

LF-31 (rev, 10/3/17) Page 3 of 3
